Case 3:12-cr-30242-SMY      Document 115 Filed 01/25/13      Page 1 of 2   Page ID
                                      #247



                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

      Plaintiff,

v.

VINCENTE LOPEZ,
a/k/a Chente,

      Defendant.                                   No. 12-cr-30242-DRH-9


                    ORDER FOR PRESENTENCE PROCEDURE

HERNDON, Chief Judge:

      This matter comes before the Court for case management.                 Strict

compliance with Federal Rule of Criminal Procedure 32 and Southern District of

Illinois Local Rule Cr 32.1 shall be enforced.     A party wishing to object to a

presentence report must have such objections filed with the Clerk of the Court no

later than 14 days after receiving the presentence report. For counsel, receiving is

interpreted to mean when the presentence report is docketed in the court file via

CM/ECF. Responses to objections must be filed no later than 7 days after receipt

of said objections. Parties, however, are encouraged to consult with the probation

officer who authored the presentence report prior to filing objections in an effort

to obtain agreement to revise the report without necessity of formal objections.

Such informal discussions are not sufficient cause to exceed the deadlines without

leave of Court for an extension of time, which likely will impact the sentencing



                                     Page 1 of 2
Case 3:12-cr-30242-SMY     Document 115 Filed 01/25/13     Page 2 of 2   Page ID
                                     #248



date. Any unresolved objections which are subject to a formal objection shall

cause the probation officer to prepare an addendum addressing each objection.

      Any party wishing to file a sentencing memorandum relative to the issues to

be considered at sentencing, shall file such pleading no later than 7 days before

sentencing.   Likewise, should either party intend to present testimony at the

sentencing hearing, notice of the proposed witnesses, the subject of said

testimony, and projected length of the testimony shall be filed with the Court no

later than 7 days prior to the sentencing hearing, with service on opposing

counsel. Generally, the Court schedules sentencing hearings for an hour and this

information will allow the Court the opportunity to change its schedule if

necessary.

      If a party is unable to comply with this schedule, a continuance of the

sentencing date should be sought.

      IT IS SO ORDERED.

      Signed this 25th day of January, 2013.                      Digitally signed by
                                                                  David R. Herndon
                                                                  Date: 2013.01.25
                                                                  15:46:13 -06'00'
                                                  Chief Judge
                                                  United States District Court




                                    Page 2 of 2
